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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS
Eastern Division
In Re: BR No.: = 19-10562
BCause Mining LLC, a Virginia limited

ability company Chapter: 1]

Honorable Janet S$. Baer

Debtor(s)

ORDER APPROVING MOTION TO PROVIDE ADEQUATE ASSURANCE
OF PAYMENT FOR CONTINUED UTILITY SERVICE

THIS MATTER COMING TO BE HEARD upon the Motion of BCause Mining LLC, Debtor/
Debtor-in-Possession herein, to Provide Adequate Assurance of Payment for Continued Utility Service,
due notice having been given; and the Court being fully advised in the premises:

IT iS HEREBY ORDERED that as adequate assurance of payment for continued services by the
utilities listed on Exhibit A attached hereto:

A. Each utility company shall retain any pre-petition security deposit paid by the Debtors as a post-
petition security deposit;

B. Each utility company shall be entitled to an administrative expense priority claim for any post-
petition utility charges that remain unpaid;

C. The Debtor shall timely pay the utilities as billed by each utility and shall remain current on such
payment.

D. The Debtor shall pay each utility, but does not currently hold a deposit, a deposit in an amount
equal to one month of the Debtor’s average monthly expense for each utility, within forty-five (45) days
of the entry of this order; and

E. Each utility company shall be prohibited from terminating, discontinuing or otherwise
interrupting utility service to the Debtor until further order of court.

Enter:
S. BS aw- W
Honorable Janet S. Baer aN
Dated: 1 0 MAY 2019 United States Bankruptcy Judge
Prepared by:
DEBTOR'S COUNSEL:
Scott R. Clar

(Atty. No. 06183741)
Jeffrey C. Dan
(Atty. No. 06242750)

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